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Proposed Attorneys for the Debtors

                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                 (CAMDEN VICINAGE)

– – – – – – – – – – – – – – – – – – – – – – – – – –– X
In re:
                                                         Case No. _________________
Shapes/Arch Holdings L.L.C.,                             (Jointly Administered)
Shapes L.L.C., Delair L.L.C., Accu-Weld
L.L.C., and Ultra L.L.C.,                                Chapter 11

                         Debtors.                        Hearing Date: March __, 2008
                                                         Oral Argument is Requested
– – – – – – – – – – – – – – – – – – – – – – – – – –– X

     VERIFIED MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (I)
  AUTHORIZING AND APPROVING POSTPETITION FINANCING; (II) GRANTING
     LIENS AND SECURITY INTERESTS AND PROVIDING SUPERPRIORITY
   ADMINISTRATIVE EXPENSE STATUS; (III) MODIFYING AUTOMATIC STAY;
    AND (IV) SCHEDULING FINAL HEARING, PURSUANT TO SECTIONS 105,
     362, 363 AND 364 OF THE BANKRUPTCY CODE AND FEDERAL RULES
           OF BANKRUPTCY PROCEDURE 2002 AND 4001(C) AND (D)

        The above-captioned debtors and debtors in possession (collectively, the “Debtors”), by

and through their undersigned counsel, hereby move (the “Motion”) this Court for the entry and

approval of interim and final orders: (a) authorizing and approving postpetition financing;

(b) granting liens and security interests and providing superpriority administrative expense

status; (c) modifying automatic stay; and (d) scheduling final hearing, pursuant to sections 105,

362, 363 and 364 of title 11 of the United States Code (the “Bankruptcy Code”) and Federal

Rules of Bankruptcy Procedure 2002 and 400l(c) and (d) of the Federal Rules of Bankruptcy (the


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“Bankruptcy Rules”), in the forms1 attached hereto as Exhibit A and incorporated herein by

reference in the case of the interim orders (the “Interim Orders”), and substantially in the form of

the Interim Orders with requisite conforming changes in the case of the final orders (the “Final

Orders”), providing, among other things, authorization for the Debtors to: (i) obtain credit from

(a) The CIT Group/Business Credit, Inc., (“CIT”) as agent for itself and for JPMorgan Chase

Bank, N.A. and Textron Financial Corporation by incurring postpetition debt in an amount equal

to up to the aggregate principal amount of Sixty Million Dollars ($60,000,000.00) (the “Revolver

DIP Facility”), based upon a “Borrowing Base” formula, as more fully described in the Revolver

DIP Facility, using one aggregate borrowing base of all Debtors’ assets, secured by first priority

liens on all Revolver Senior Collateral (as defined in the Interim Order approving the Term DIP

Facility), all as more fully defined and described in the DIP Facilities agreements attached hereto

and that certain intercreditor agreement to be entered into between CIT, as agent and Arcus ASI

Funding, LLC (“Arcus”), as agent (the “Intercreditor Agreement”) and, as applicable, the Orders

approving this Motion pursuant to sections 364(c)(2), 364(c)(3), and 364(c)(4) of the Bankruptcy

Code, and with priority as provided in section 364(c)(1) of the Bankruptcy Code, and liens junior

only to Term Agent (as defined below) on all Term Senior Collateral (as defined in the Interim

Order approving the Term DIP Facility), and (b) Term Lenders (as defined below), by incurring

post-petition debt in an amount equal to at least the principal amount of Twenty-Five Million

Dollars ($25,000,000.00) (the “Term DIP Facility”, and together with the Revolver DIP Facility,

the “DIP Facilities”) secured by first priority liens on all Term Senior Collateral pursuant to

sections 364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy Code, and with priority as provided



1
        It is contemplated that the Court will consider two Interim Orders and two Final Orders with respect to this
        Motion, i.e., one Interim and one Final Order with respect to each of the debtor in possession facilities
        described herein.


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in section 364(c)(1) of the Bankruptcy Code, and liens junior only to Revolver Agent on all

Revolver Senior Collateral; (ii) enter into and comply with in all respects with the debtor in

possession financing arrangements, as provided in (x) that certain Debtor-In-Possession Term

Loan Financing Agreement by and among Arcus as agent (in such capacity, together with its

respective successors, assigns and transferees, “Term Agent”), and lender (“Term Lender”) on

the one hand, and Shapes/Arch Holdings, L.L.C., Shapes L.L.C., Delair L.L.C., Accu-Weld

L.L.C. and Ultra L.L.C., as Borrowers on the other, and (y) that certain Debtor-In-Possession

Revolving Credit Financing Agreement by and among CIT as agent (in such capacity together

with its respective successors, assigns and transferees, the “Revolver Agent” and together with

Term Agent, the “DIP Agents”) and for itself, Textron Financial Corporation and JPMorgan

Chase Bank, N.A. (the “Revolver DIP Lenders” and together with the Term Lender, the “DIP

Lenders”) on the one hand, and Shapes/Arch Holdings, L.L.C., Shapes L.L.C., Delair L.L.C.,

Accu-Weld L.L.C., and Ultra L.L.C., as Borrowers, on the other, substantially in the form

attached to the Interim Orders as Exhibits (together, the “DIP Credit Agreements”) and together

with the other loan documents referenced in the DIP Credit Agreements, the “DIP Facility

Documents”); (iii) authorize the Debtors to pay CIT in respect of all Prepetition Obligations (as

defined below); (iv) providing the DIP Lenders with valid, binding, continuing, enforceable,

fully perfected and unavoidable first priority (subject to the terms of the Intercreditor

Agreement) senior security interests in, and liens (all such liens and security interests granted to

the DIP Lenders, pursuant to the Interim Order and the DIP Facility Documents, the “DIP

Facility Liens”) upon the Collateral (as defined below); (v) granting the DIP Lenders pari passu

superpriority claims over any and all administrative expenses, other than those set forth in the

Interim Orders and the DIP Credit Agreements; (vi) modifying the automatic stay to the extent



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necessary and as required by the DIP Facility Documents; and (vii) scheduling a final hearing

(the “Final Hearing”) to consider the entry of an order authorizing and approving the DIP

Facilities, and the DIP Facility Documents, and the Interim Orders on a final basis.2 In support

of this Motion, the Debtors respectfully represent as follows:

                                SUMMARY OF RELIEF REQUESTED

        Bankruptcy Rule 4001 requires that motions requesting authority to use cash collateral or

incur post-petition financing begin with a concise statement of the relief requested that

summarizes the material terms and sets forth where such material terms can be found in the

pertinent documents. In addition, Bankruptcy Rule 4001 requires that in the event certain types

of provisions as enumerated therein are included in the relief requested, they must be listed or

summarized, identified as to location in the proposed cash collateral or financing agreement and

form of order, and further identified if those provisions are proposed to remain in effect if

interim approval is granted but final relief is denied. Below is a concise statement summarizing

the material terms (and where such terms are located in the documents) of the Debtors’ Motion.3

Material Terms          Brief Summary                                                             Reference
Loan Parties4           Shapes/Arch Holdings L.L.C.                                               Preamble to
                        Shapes L.L.C.                                                             each of the
                        Delair L.L.C.                                                             DIP Credit
                        Accu-Weld L.L.C.                                                          Agreements
                        Ultra L.L.C.

2
        All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
        Interim Orders. To the extent the descriptions provided in this Motion differ in any way from the terms of
        the Interim Orders, the terms of the Interim Orders shall control.
3
        This summary is qualified in its entirety by reference to the provisions of the DIP Credit Agreements and
        Interim Orders. The DIP Credit Agreements will control in the event of any inconsistency between this
        Motion and the DIP Credit Agreements.
4
        References in this summary to “¶” are to paragraphs in the Interim Order and references to “§” are to
        sections in the DIP Facilities. References in this summary or elsewhere in this Motion to (i) the “Arcus
        Order” are to the Interim Order approving the Term DIP Facility, (ii) the “CIT Order” are to the Interim
        Order approving the Revolver DIP Facility, (iii) the “Arcus Loan Agreement” are to the DIP Credit
        Agreement among the Debtors, the Term Agent and the Term Lenders, and (iv) the “CIT Loan Agreement”
        are to the DIP Credit Agreement among the Debtors, the Revolver Agent and the Revolver Lenders.

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Material Terms          Brief Summary                                              Reference
Lenders and             The CIT Group/Business Credit, Inc., as agent for itself   Preamble to
Agents                  and for JPMorgan Chase Bank, N.A. and Textron Financial    each of the
                        Corporation, as Revolving DIP Lenders                      applicable
                                                                                   DIP Credit
                        Arcus ASI Funding LLC, as Term Lender and Term             Agreements
                        Lender

Commitment and          $60,000,000 through the Revolver DIP Facility and Definition of
Availability            $25,000,000 through the Term DIP Facility.        “Revolving
                                                                          Line of
                                                                          Credit” in the
                                                                          CIT Loan
                                                                          Agreement
                                                                          and definition
                                                                          of “Term
                                                                          Loan Facility
                                                                          Amount” in
                                                                          the Arcus
                                                                          Loan
                                                                          Agreement

Collateral              The Revolver DIP Facility will be secured by (a) a pari ¶¶7 & 8 of
                        passu first priority superpriority administrative claim and CIT Order
                        expense under the Bankruptcy Code Section 364(c)(1), (b)
                        a perfected first priority security interest on all Revolver
                        Senior Collateral, and (c) a second priority perfected
                        security interest (subject only to a first priority perfected
                        security interest in favor of the Term Agent) in the Term
                        Senior Collateral, including, without limitation, all claims
                        in avoidance actions under Chapter 5 and Section 724(a) of
                        the Bankruptcy Code (“Avoidance Actions”); all as more
                        fully defined and described in the applicable DIP Credit
                        Agreement and the Intercreditor Agreement.

                        The Term DIP Facility will be secured by (a) a pari passu ¶2.1 of Arcus
                        first priority superpriority administrative claim and Order
                        expense under the Bankruptcy Code Section 364(c)(1), (b)
                        a perfected first priority security interest on all Term
                        Senior Collateral, including, without limitation, all
                        Avoidance Actions, pursuant to Sections 364(c) and (d) of
                        the Bankruptcy Code, and (c) a second priority perfected
                        security interest (subject only to a first priority perfected
                        security interest in favor of the Revolver Agent) in the
                        Revolver Senior Collateral; all as more fully defined and
                        described in the applicable DIP Credit Agreement and the


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Material Terms          Brief Summary                                                   Reference
                        Intercreditor Agreement.

                        Relative priority rights will be defined in the Intercreditor   ¶8 of CIT
                        Agreement. The security interests of the Term Agents and        Order
                        Revolver Agent shall each be subject, as to priority, only to
                        a carve-out in an amount and scope to be agreed upon by         ¶¶ 2.2 & 2.3
                        Revolver Agent, Term Agent and Debtors (the “Carve-             of Arcus
                        Out”). All of Debtors’ obligations under the DIP Facilities     Order
                        shall be entitled to super-priority administrative claim
                        status, subject, as to priority, only to the Carve-Out.

Liens                   The DIP Agents will receive first priority automatically ¶12 of CIT
                        perfected liens (subject to the Carve-Out) on the Collateral. Order

                                                                                        ¶2.1.3 of
                                                                                        Arcus Order



DIP Super-Priority      The DIP Agents will receive super-priority claims subject ¶18 of CIT
Claim                   only to the Carve-Out.                                    Order

                                                                                        ¶2.2 of Arcus
                                                                                        Order



Use of Proceeds         The proceeds of the Revolver DIP Facility shall be used to      ¶¶3 & 10 of
                        repay in full, together with the initial advance under Term     CIT Order
                        DIP Facility, Prepetition Indebtedness owing to the
                        Revolving DIP Lenders and funding of working capital            ¶1.2 of Arcus
                        needs. The proceeds of the Term DIP Facility shall be           Order
                        used to (a) satisfy the PP&E Equity Borrowing Base
                        Component (inclusive of the Reserve Termination
                        Amount) of the Pre-Petition Indebtedness, (b) pay-off the
                        Pre-Petition term loan owing to the Revolver DIP Lenders,
                        and (c) satisfy working capital needs.

Carve-Out               The Carve-out permits $1,375,000 in the aggregate for           ¶19 of CIT
                        payments to professional advisors to the Debtors and the        Order
                        Committee, subject to certain conditions, and U.S. Trustee
                        and Clerk fees. There is a $1,125,000 Carve-out for the         ¶2.3 of Arcus
                        Debtors’ Professionals and a $250,000 Carve-out for the         Order
                        Committee’s Professionals.

Fees                    Revolver DIP Facility Fees: An unused line fee at a rate §§ 8.3, 8.6 &


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Material Terms          Brief Summary                                                   Reference
                        per annum equal to 0.25 % payable on the average daily          8.10 of CIT
                        unutilized portion of the Revolver DIP Facility. An L/C         Loan
                        fee at the applicable margin per annum used for                 Agreement
                        determining interest payable in respect of LIBOR loans          and Agent’s
                        made under the Revolver DIP Facility on the average daily       Fee Letter
                        undrawn amount of L/Cs. All fees, costs or expenses
                        (including fronting fees) due to any banking or financial
                        institution (other than DIP Agent) for any L/Cs issued by
                        such other banking or financial institution in reliance on
                        credit support furnished by DIP Agent. An annual
                        administrative agent fee of up to $40,000, and an annual
                        collateral agent fee in the amount of up to $125,000 each
                        payable solely to the DIP Agent as more fully set forth in
                        its fee letters.

                        Term DIP Facility Fees: An unused facility fee at a rate        §§ 9.4 through
                        per annum equal to 200 bps payable on the daily undrawn         9.8 of Arcus
                        portion of the Term DIP Facility. A collateral monitoring       Loan
                        fee of $40,000 per month payable monthly in advance to          Agreement
                        Term Agent. An agent/facility fee of $40,000 per month
                        payable monthly in advance to Term Agent. An
                        arrangement fee equal to 1.5% of the total credit available
                        under the DIP Facilities. An early termination fee equal to
                        2% of the Term DIP Facility payable upon (i) confirmation
                        of a plan of reorganization or plan of liquidation other than
                        such plan proposed, funded and/or sponsored by Term
                        Agent; (ii) entry of an order authorizing a sale of all or
                        substantially all of Borrowers’ assets or business pursuant
                        to Section 363 of the Bankruptcy Code to a purchaser other
                        than Arcus or its affiliate, or (iii) repayment of Term DIP
                        Facility prior to the Effective Date of the Plan. All fees,
                        once paid, are non refundable.

Interest Rate           Under the Revolver DIP Facility, Prime plus .25% per §§ 8.1 & 8.13
                        annum or LIBOR rate plus 2% per annum.               of CIT Loan
                                                                             Agreement

                        Under Term DIP Facility, Prime (which cannot be lower § 9.1(a) of
                        than 6% per annum) plus 6% per annum.                 Arcus Loan
                                                                              Agreement

Events of Default       Revolver DIP Facility: Events of defaults will include §10 of CIT
                        those consistent with the Prepetition Loan and in addition Loan
                        will include (i) defaults relating to the Chapter 11 Cases, Agreement
                        (ii) cross default to the Term DIP Facility, (iii) conversion
                        into a Chapter 7 case, (iv) change in status of the current

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Material Terms          Brief Summary                                                Reference
                        chief executive officer and (v) such other events of default
                        as the Revolver DIP Lenders may, in their sole discretion,
                        deem to be usual, customary, necessary and/or advisable in
                        light of the Chapter 11 Cases, including some, but not all,
                        of the type of Term DIP Facility events of default referred
                        to below. Upon the occurrence of an Event of Default,
                        Revolver Agent shall have automatic relief from the stay
                        pursuant to Section 362 of the Bankruptcy Code upon three
                        (3) business days notice to certain parties.

                        Term DIP Facility: Events of defaults will include those §11 of Arcus
                        consistent with the Prepetition Loan and such events of Loan
                        default customarily found in financing transactions of the Agreement
                        type contemplated by the Term DIP Facility, including, but
                        not limited to: nonpayment of principal or reimbursement
                        obligations when due; nonpayment of interest, fees or other
                        amounts; inaccuracy of representations and warranties;
                        violation of covenants; cross-default to material
                        indebtedness; certain ERISA events; material judgments;
                        change of management; shareholder litigation or other
                        shareholder actions materially adverse to Term Agent or
                        Term Lenders; default under the Interim Order or Final
                        Order; payment of pre-petition obligations other than as
                        permitted by the Interim Order or Final Order or
                        specifically authorized by the Bankruptcy Court; cessation
                        of material business operations; substantive consolidation;
                        dismissal of the Case; conversion into a Chapter 7 case;
                        appointment of a trustee of examiner; revocation or
                        modification of the Interim Order or Final Order or the DIP
                        Facility Documents; and such other events of default as the
                        Term Lenders may, in their sole discretion, deem to be
                        usual, customary, necessary and/or advisable in light of the
                        Chapter 11 Cases. Upon the occurrence of an Event of
                        Default, Term Agent shall have automatic relief from the
                        stay pursuant to Section 362 of the Bankruptcy Code upon
                        three (3) business days notice to certain parties.

Waiver of               The Interim Orders contain provisions waiving the ¶12 of CIT
Applicability of        applicability of nonbankruptcy law to the perfection and Order
Nonbankruptcy           enforcement of a lien.
Law Relating to                                                                  ¶2.1.3 of
Perfection,                                                                      Arcus Order
Foreclosure or
Other Enforcement
of Lien


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Material Terms          Brief Summary                                                   Reference
Validity,               The Debtors stipulate to the validity, enforceability and       ¶6 of CIT
Enforceability and      priority of the Prepetition Lenders’ liens and claims and       Order
Priority of             waive claims against the Prepetition Lenders.          The
Prepetition             Committee, if appointed, will have 45 days to challenge         ¶4.1 of Arcus
Lenders’ Liens and      the liens and claims of the Prepetition Lenders or bring        Order
Claims                  causes of action against the Prepetition Lenders. If no
                        Committee is appointed, any party in interest shall have 60
                        days from the Petition Date to bring such a claim or cause
                        of action.

Modification of         Automatic stay modified to permit the Debtors to grant ¶17 of CIT
Automatic Stay          liens and perform their obligations under the DIP Facilities Order
                        and to allow the DIP Lenders to exercise remedies on 3
                        business days’ notice to parties.                            ¶3.4 of Arcus
                                                                                     Order

Waiver of Section       The DIP Lenders shall not be subject to a surcharge under ¶21 of CIT
506(c) Surcharge        Section 506(c), from and after the entry of a Final Order or Order
                        an extension of the Interim Order.
                                                                                     ¶4.3 of Arcus
                                                                                     Order

Indemnification         The Debtors shall indemnify and hold harmless the DIP           §7.12 of CIT
                        Lenders and their respective affiliates, directors, officers,   Loan
                        employees, agents, representatives and controlling persons      Agreement
                        from and against any and all claims, damages, liabilities,
                        and expenses (including, without limitation, fees and           §8.12 of
                        expenses of counsel) that may be incurred by or asserted        Arcus Loan
                        against such indemnified party in connection with the           Agreement
                        investigation of, preparation for, or defense of any pending
                        or threatened claim or any action or proceeding (whether
                        or not such indemnified party is a party thereto) or
                        otherwise arising out of or relating to any of the
                        transactions contemplated hereby, any commitment or
                        similar letter issued in connection therewith, any of the
                        DIP Facility Documents, any of the transactions
                        contemplated thereby, or any action or omission of any
                        Indemnified Party or other matter or thing under or in
                        connection with any of the foregoing, except for (with
                        respect to any indemnified party) any such claims,
                        damages, liabilities or expenses resulting solely from such
                        indemnified party’s own gross negligence or willful
                        misconduct as determined by a court of competent
                        jurisdiction in a final nonappealable order or judgment.




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                                       Jurisdiction and Venue

        1.      On March 16, 2008 (the “Petition Date”), the Debtors filed their respective

petitions for relief under Chapter 11, Title 11 of the United States Code (the “Bankruptcy

Code”).

        2.      On the Petition Date, the Debtors filed various “first day” motions, including a

motion seeking to have their cases jointly administered under the lead debtor, “Shapes/Arch

Holdings L.L.C.”

        3.      The Debtors are operating their businesses and managing their properties as

debtors-in-possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.

        4.      No trustee or examiner has been appointed in these cases. No official committee

of unsecured creditors has been appointed in these cases.

        5.      The Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. Venue

is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to 28

U.S.C. § 157(b)(2).

                            Description of Debtors and Their Businesses

        6.      Shapes/Arch is a holding company that owns each of the four operating

companies - Shapes, Delair, Accu-Weld and Ultra. The Debtors’ predecessor was established in

New Jersey in 1952 to produce aluminum windows. By 1959, the business had expanded and

began focusing on producing aluminum extrusions. The Debtors have consistently expanded

their businesses over the years by investing in new facilities and technology and by establishing

new product lines. On a consolidated basis, the Debtors’ net revenue in 2007 was $273.8

million, with Shapes generating approximately 65% of that revenue. The Debtors have over

1000 employees, approximately 70% of whom are members of either the International

Brotherhood of Teamsters Local 837, or the United Independent Union.

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        7.       Shapes is the largest operating Debtor with 2007 revenue over $179 million and

over 600 employees. Shapes is a leading producer of custom aluminum extrusions for a variety

of industries, including road and rail transportation and commercial and residential construction.

Aluminum extrusion is a process by which a heated aluminum billet is rammed through a die to

create the intended shape. The extruded aluminum exits the press, is cooled and then cut to the

necessary lengths. Shapes distinguishes itself in the industry because of its extensive large press

capacity and because all of its casting, extruding, fabricating and finishing is completed in one

facility. Shapes’ 525,000 square foot facility, which is located in Delair, New Jersey, operates

twenty-four hours per day, seven days a week, with its casthouse (to produce the billets to be

pushed through the presses), eight presses of varying sizes, a paint line, an anodizing line and a

variety of other fabrication equipment. Shapes can produce and ship over 400,000 pounds of

extruded aluminum per day. Shapes has been recognized in the “Guinness Book of World

Records” for the largest free standing aluminum structure ever created in connection with the

restoration of the Statue of Liberty. Shapes also provided the aluminum scaffolding used in

connection with the restoration of the Washington Monument.

        8.       In 2007 Shapes’ revenues decreased by approximately $35 million compared to

2006. This decrease is, at least in part, attributable to the fact that 65% of Shapes’ sales are to

the trailer, truck body and railcar sectors, all of which have been experiencing an economic

downturn.

        9.       Delair manufactures maintenance free aluminum fence systems for residential and

commercial use, and manufactures America’s most recognized brand of above-ground pools.

Both product lines are sold through dealers, distributors and major retailers throughout the

United States.



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        10.     Delair operates from a 350,000 square foot facility adjacent to Shapes in Delair,

New Jersey. Delair’s proximity to Shapes provides a competitive advantage because Delair

purchases approximately 70% of its product line from Shapes.

        11.     Because Delair’s sales are largely tied to consumer spending and the housing

market, Delair has suffered with that sector of the economy and its 2007 revenues were $5.5

million less than in 2006.

        12.     Accu-Weld is a vertically integrated manufacturer of made-to-order vinyl

replacement windows and steel doors. Accu-Weld’s products are sold to installers, dealers and

home improvement retailers throughout the Northeastern, Mid-Atlantic and Midwestern United

States. Accu-Weld operates out of a 100,000 square foot facility in Bensalem, Pennsylvania.

Unlike many of its competitors, Accu-Weld extrudes its own vinyl profiles, which results in

faster production and delivery to the customer.

        13.     Accu-Weld’s net revenues in 2007 were $24.9 million, down from $37 million in

2006. The loss of revenue is due principally to Accu-Weld ceasing to do business with certain

customers that were not profitable or which presented significant, unjustifiable credit risk and the

general decline of the housing market.

        14.     Ultra is one of the leading suppliers of value branded hardware products in the

United States, including locksets, door and window hardware and other decorative hardware.

Ultra has over 8,000 products sourced primarily from China. Ultra’s products are sold to home

improvement and hardware retailers, hardware cooperatives and distributors, home builders and

window and door manufacturers.

        15.     Ultra operates from a 75,000 square foot distribution facility in Pennsauken, New

Jersey, with two million cubic feet of storage space.



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        16.     Ultra’s EBITDA decreased by $2.2 million due primarily to sales of hardware to

lower margin accounts and the rapid escalation of product costs from China that could not be

passed on to Ultra’s customers.

                                           The Bank Debt

        17.     Prior to the Petition Date, Shapes, Delair, Accu-Weld and Ultra (as co-borrowers

and co-guarantors) became indebted to a lender group consisting of The CIT Group/Business

Credit, Inc. (“CIT”), as agent, and Bank One, National Association (“Bank One”) pursuant to a

financing agreement, dated December 30, 2003 (as amended from time to time, the “Financing

Agreement”). The current members of the lender group are CIT, as agent, JPMorgan Chase

Bank N.A. (successor to Bank One) and Textron Financial Corporation (the “Lender Group” or

the “Pre-Petition Lenders”).

        18.     Pursuant to the Financing Agreement, the Lender Group provided financing in the

form of revolving loans (based upon a percentage of eligible inventory and accounts receivable),

term loans, and letters of credit.      The Financing Agreement has been amended on fifteen

occasions, most recently on or about March 6, 2008, principally to address the needs of the

Debtors to borrow funds in excess of what was available based upon their eligible inventory and

accounts in light of the cyclical nature of the Debtors’ businesses. The fifteenth amendment

enables the Debtors to borrow up to $4.4 million beyond its available borrowing base (the

“PP&E Equity Borrowing Base Component”), and requires that the Debtors re-pay the PP&E

Equity Borrowing Base Component on or before March 14, 2008.

        19.     The Financing Agreement currently provides for a maximum total credit facility

of $75.7 million, and a maximum line of credit of $67 million. Shapes/Arch and its parent, Ben

LLC, are guarantors of the debt to the Lender Group. The Lender Group has a first priority lien

on and security interest in substantially all of the Debtors’ assets, including without limitations,

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all accounts receivable, inventory, machinery and equipment and real property, and the proceeds

thereof.

        20.     As of the Petition Date, the outstanding borrowings from the Lender Group are as

follows: (i) revolving loans totaling approximately $47.72 million (inclusive of the PP&E

Equity Borrowing Base Component); (ii) term loans totaling approximately $8.35 million; and

(iii) letters of credit totaling approximately $3.55 million for an aggregate indebtedness to the

Lender Group in the amount of $59.62 million (the “Bank Debt”).

                                         Reasons for Filing

        21.     The Debtors’ Chapter 11 filings were precipitated by a number of factors. The

principal factor leading to the Debtors’ filings is that the economic sectors in which the Debtors

operate have experienced a downturn, which decline has affected the Debtors’ revenues and

EBITDA beginning in late 2006 and continuing through the first quarter of 2008. The Debtors’

revenue decreased by about fifteen percent (15%) from $322 million in 2006 to $274 million in

2007, with projected revenue in 2008 of $262 million. The Debtors’ EBITDA plummeted from

about $21 million in 2006 to less than $4 million in 2007. The Debtors have been unable to

remain current with creditors, in particular, utilities and major suppliers, because of this

downturn.

        22.     With the contraction in purchases by the Debtors’ customer base and the Debtors’

overhead remaining largely static, the Debtors have been struggling to fund their operations

under their existing lending arrangement and find themselves in a situation in which they can not

repay the PP&E Equity Borrowing Base Component or pay past due obligations to venders in

excess of $15 million.




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        23.     Over the course of the past four months, the Lender Group has worked with the

Debtors to attempt to find a solution. In late 2007, CIT Capital Securities LLC, an affiliate of the

agent for the Lender Group, was engaged to attempt to obtain additional financing for the

business. Despite their efforts, they were unable to identify any lender willing to provide

additional, subordinated, financing to the Debtors or to refinance the Bank Debt.

        24.     More recently, the Debtors have explored a possible sale/leaseback transaction

with certain third parties. The Debtors, however, were not successful in negotiating a transaction

that would adequately address the Debtors’ needs going forward.

        25.     The Debtors also explored potential sale opportunities with existing management

and third parties, but elected not to pursue these potential opportunities in favor of the Versa

transaction (described hereinbelow) because the Versa transaction presents a better opportunity

to preserve the going concern and maximize a recovery for all creditor constituencies.

                                          The White Knight

        26.     With the Debtors’ need for borrowings in excess of the borrowing base provided

for in the Financing Agreement projected to increase to over $7.4 million over the next few

weeks, without factoring in any payment to restructuring professionals or to venders on the past

due trade debt, and the Lender Group’s inability and unwillingness to fund any additional

overadvance, the Debtors’ continued ability to operate was in substantial doubt without a quick

and efficient transaction.

        27.     In January, 2008, the Debtors began a dialogue with Versa Capital Management,

Inc. (“Versa”), a Philadelphia based private equity firm, to discuss Versa’s interest in a possible

transaction. Versa expressed interest and conducted extensive due diligence with respect to the

Debtors’ businesses in late January.



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        28.     Also during this time frame, the Debtors retained Phoenix Management Services,

Inc. (“Phoenix”), a turnaround and crisis management firm, to (i) assist the Debtors in working

with the Lender Group; (ii) develop cash flow models to determine how severe the Debtors’

liquidity issues were and would become over the following weeks and months; and (iii) explore

the Debtors’ alternatives.

        29.     In February, Versa, the Debtors and representatives of the owners of Ben LLC

engaged in arms length negotiations which culminated in an agreement whereby Arcus ASI

Funding, LLC and Arcus ASI, Inc. (affiliates of Versa, hereinafter “Arcus”), would, among other

things, commit to lend at least $25 million to the Debtors during the Chapter 11 proceeding (and

provide additional funding and an equity infusion to help Debtors reorganize). As part of that

agreement, Arcus became a manager of (but not a member of) Shapes/Arch Holdings, LLC (with

79.9% of the voting rights) and Ben LLC retained 100% of the ownership rights and 20.1% of

the voting rights. This transaction was made subject to many terms and conditions, including

Versa’s ability to reach an agreement with the Lender Group with respect to the terms and

conditions of Versa’s investment in the Debtors’ businesses as part of a plan of reorganization, as

well as obtaining the Lender Group’s commitment to provide debtor-in-possession and exit

financing for the companies. The Debtors, Versa and the Lender Group ultimately reached an

agreement on the terms and conditions upon which Arcus would provide additional financing to

the Debtors (and the PP&E Equity Borrowing Base Component would be eliminated) during any

Chapter 11 process, as well as provide an exit facility for the companies.

        30.     In light of the available financing from the Lender Group and Versa, and the

current state of the Debtors’ businesses, the Debtors, their management, and representatives of




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the owners of Ben LLC, and Versa agreed that the Debtors would need to seek bankruptcy

protection in order to effectuate the transaction.

        31.     Contemporaneously with the filing of the petitions, the Debtors have filed a plan

and disclosure statement that provide, among other things, for the financing of the Debtors’

operations during the Chapter 11 process, exit financing for the Debtors upon confirmation of the

Debtors’ plan of reorganization, payment of all administrative and priority unsecured claims in

full, and a dividend to holders of general unsecured claims.

        32.     The plan reflects a commitment by (i) the Lender Group to provide the Debtors

with revolving loans throughout the Chapter 11 proceedings and upon exiting bankruptcy in the

amount of up to $60 million all on terms and conditions more fully set forth in the applicable

documents to be executed in favor of the Revolving DIP Lenders, and (ii) Arcus to pay off the

Lender Group’s term loans, to pay-off the PP&E Equity Borrowing Base Component (inclusive

of the Reserved Termination Amount), to provide additional working capital for the Debtors, and

to fund a dividend to creditors, requiring a total commitment by Arcus of approximately $25

million.

        33.     The Debtors have worked diligently over the past several weeks in a difficult

setting toward a solution that will maximize a return for all creditor constituencies and, at the

same time, maximize the likelihood that the Debtors’ businesses will remain viable so that the

Debtors can continue to be one of South Jersey’s largest employers for the foreseeable future.

The Debtors believe that the plan will achieve these objectives.

                       The Debtors’ Proposed Postpetition Credit Facilities

        34.     The Debtors have an immediate need to obtain the DIP Facilities in order to

permit, among other things, (a) the orderly continuation of the operation of their businesses, (b)

the management and preservation of Debtors’ assets and properties, (c) the maintenance of

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business relationships with vendors, suppliers and customers (including issuance of new letters

of credit by the Revolving DIP Lenders where required), (e) payment of payroll obligations, (f)

the satisfaction of other working capital and operational needs, and (g) the maintenance of the

going concern value of the Debtors’ estates pending confirmation of the Plan. The Debtors are

convinced that, without immediate access to a postpetition financing facility, they lack sufficient

liquidity to preserve and maintain the going concern value of the Debtors while they pursue the

confirmation of the Plan and their estates would be irreparably harmed.

        35.     The Debtors do not have any currently available sources of funds other than the

cash collateral of the Prepetition Lenders to provide necessary funding for the Debtors’

operations. The Debtors’ analysis shows that it can not continue to operate solely through the

use of cash collateral.

        36.     In view of this, the Debtors have engaged in discussions and negotiations with the

Prepetition Lenders and the DIP Lenders in an effort to ensure that the Debtors continue to have

access to credit facilities. The Debtors, the Prepetition Lenders and the DIP Lenders engaged in

good faith and extensive arm’s length negotiations that culminated in several agreements which

are embodied in the DIP Credit Agreements.

        37.     By virtue of the fact that (a) the Debtors require immediate access to cash, (b) the

Debtors require immediate access to the funds provided by the DIP Facilities, (c) the Debtors

believe that any alternative lenders’ proposals will not be as favorable as the terms proposed by

the Prepetition Lenders and the DIP Lenders (which assumes the unlikely fact that another

subordinate or replacement lender(s) could be found), and (d) all of the Debtors’ assets are

encumbered by liens held by the Prepetition Lenders, the Debtors have concluded that the DIP




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Facilities from the DIP Lenders present the best option for preservation of the Debtors’ business

and addressing their working capital and liquidity needs pending confirmation of the Plan.

                                          Relief Requested

        38.     This Motion contemplates, and the Debtors hereby request, this Court’s

authorization, for a two-step procedure whereby this Court would: (a) at the conclusion of the

interim hearing on the Motion, enter the Interim Orders substantially in the form attached hereto

as Exhibit A, authorizing and approving on an interim basis, inter alia, the Debtors’ use of

interim availability under the Revolver DIP Facility (and a rollup of the Pre-Petition

Indebtedness) and the Term DIP Facility in accordance with the budget (the “DIP Budget”),

attached to the Arcus Order as Exhibit 1, and (b) at the conclusion of the final hearing, enter

orders authorizing and approving on a final basis, inter alia, the Debtors’ use of the Revolver

DIP Facility and the Term DIP Facility.

        39.     As indicated above, an immediate need exists for the Debtors to obtain funds in

order to continue their operations and preserve the value of their estates, the absence of which

will immediately and irreparably harm the Debtors, their estates and their creditors, as well as the

consummation of a successful reorganization under the Plan. Without these facilities, there can

be no reorganization.       It is anticipated that the Debtors will utilize availability under the

Revolving DIP Facility and the Term DIP Facility in order to pay in full the Prepetition Lenders

in respect of all Prepetition Indebtedness, and to provide critically needed liquidity for the

Debtors’ operations (including the issuance of new, post-petition letters of credit which are

critical to the Debtors’ ongoing operations), and to fund and facilitate consummation of the

Debtors’ proposed Plan. Significantly, simultaneously with the Chapter 11 filing and the filing

of this Motion, the Debtors have filed a Joint Plan and Disclosure Statement. The funding



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described in this Motion will enable the Debtors to confirm the Plan, emerge from Chapter 11,

and consummate the Plan with the distributions to creditors as described therein.

        40.     The Debtors are unable to obtain unsecured credit allowable under section

503(b)(1) of the Bankruptcy Code as an administrative expense. The Debtors are also unable to

obtain secured credit, allowable only under Bankruptcy Code sections 364(c)(2), 364(c)(3), and

364(d), on more favorable terms and conditions other than those provided in the DIP Credit

Agreements. The Debtors are unable to obtain credit for borrowed money without the Debtors

granting: (a) to the DIP Lenders, liens on all of the assets5 of the Debtors pursuant to sections

364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy Code; and (b) to the DIP Lenders,

superpriority administrative expense claim status as provided in section 364(c)(1) of the

Bankruptcy Code, over any and all administrative expenses of the kind specified in sections

503(b) and 507(b) of the Bankruptcy Code, other than as set forth in the Interim Order.

        41.     The DIP Facilities and the DIP Facility Documents were negotiated in good faith

and at arm’s length between the Debtors, the Prepetition Lenders and the DIP Lenders. The

ability of the Debtors to finance their operations and the availability of sufficient working capital

and the incurrence of indebtedness for money borrowed and other financial accommodations is

vital to the Debtors’ ability to operate and maximize the value of their estate for the benefit of

their creditor constituencies. For these reasons, the Debtors contend that it is in the best interest

of their estate to be authorized to secure the DIP Facilities contemplated herein.

        42.     Nothing in the DIP Facility Documents, the DIP Credit Agreements or the Interim

Order shall be deemed to constitute an admission of any subsequently appointed creditors’

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        The DIP Lenders are not seeking a Lien upon any Avoidance Actions as part of the Interim Orders.
        The DIP Lenders are requiring, as part of the Final Orders, a lien on any and all Avoidance Actions.
        In addition, under the Plan, it is anticipated that both of these lender groups will provide the exit
        financing needed to consummate the Plan.


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committee (the “Committee”) or to bind the Committee to the Debtors’ releases,

acknowledgements, admissions, or waivers, subject to the right of any Committee or party in

interest, as provided in the Interim Orders, to commence, within the time period specified in the

Interim Orders, a proceeding seeking to avoid any security or collateral interest in assets of the

Debtors claimed by the Prepetition Lenders or otherwise asset claims or causes of action.

        43.     In addition, the liens, security interests and adequate protection granted under the

DIP Credit Agreements and the Interim Orders shall be subordinate to the Carve-Out, as outlined

above and as set forth in the DIP Credit Agreements and the Interim Orders.

        44.     The DIP Facilities should provide the Debtors with sufficient liquidity to survive

the early stages of the Chapter 11 process through completion of the proposed plan process and

substantial consummation thereof. In contrast, without access to the DIP Facilities, the Debtors

will have little available cash and will effectively be denied any hope of maximizing the value of

their estate for the benefit of their creditor constituencies.

                                           Basis For Relief

A.      Basis for Emergency Relief

        45.     Pursuant to Bankruptcy Rule 4001(c)(2), a minimum of fifteen (15) days notice is

required before a final hearing on this Motion may take place. However, that rule also provides

that the Court “may conduct a hearing before such 15-day period expires, but ... may authorize

the obtaining of credit only to the extent necessary to avoid immediate and irreparable harm to

the estate pending a final hearing.” Fed.R.Bankr.P. 4001(c)(2).

        46.     It is essential to the continued operation of the Debtors’ business that they be

authorized by this Court to obtain interim debtor in possession financing in the requested

amounts pending a final hearing on the Motion. The funds are urgently needed to meet the

Debtors’ working capital and other liquidity needs. Thus, the interim relief requested hereby is

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necessary, appropriate, and fully warranted, and is essential to avoid immediate and irreparable

harm to the Debtors, their estates and their creditors.

B.      Debtors’ Exercise of Sound Business Judgment

        47.     Section 364 of the Bankruptcy Code governs a debtor in possession’s ability to

incur debt or obtain credit postpetition as follows:

                (c)      If the trustee is unable to obtain unsecured credit allowable under section
                         503(b)(1) of this title as an administrative expense, the court, after notice
                         and a hearing, may authorize the obtaining of credit or the incurring of
                         debt -

                         (1)    with priority over any and all administrative expenses of the kind
                                specified in section 503(b) or 507(b) of this title;

                         (2)    secured by a lien on property of the estate that is not otherwise
                                subject to a lien; or

                         (3)    secured by a junior lien on property of the estate that is subject to a
                                lien.

                (d)      (1)    The court, after notice and a hearing, may authorize the obtaining
                                of credit or the incurring of debt secured by a senior or equal lien
                                on property of the estate that is subject to a lien only if -

                                (A)     the trustee is unable to obtain such credit otherwise; and

                                (B)     there is adequate protection of the interest of the holder of
                                        the lien on the property of the estate on which such senior
                                        or equal lien is proposed to be granted.

        48.     Generally, sections 364(c) and (d) of the Bankruptcy Code require a debtor to

demonstrate that alternative sources of credit are not available under sections 364(a) or (b). See

In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“a debtor is not required

to seek credit from every possible source ... [but only to] show that it has made a reasonable

effort to seek other sources of credit available.”). “The statute imposes no duty to seek credit

from every possible lender before concluding that such credit is unavailable.” In re Snowshoe

Co., 789 F.2d 1085, 1088 (4th Cir. 1986); see also Ames, 115 B.R. at 40 (holding that debtor


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made a reasonable effort to secure financing when it selected the least onerous financing option

from the remaining two lenders). Moreover, where few lenders are likely to be able and willing

to extend the necessary credit to a debtor, “it would be unrealistic and unnecessary to require [the

debtor] to conduct an exhaustive search for financing.” In re Sky Valley, Inc., 100 B.R. 107, 113

(Bankr. N.D. Ga. 1988), affd sub nom.. Anchor Savings Bank FSB v. Sky Valley, Inc., 99 B.R.

117, 120 nA (N.D. Ga. 1989).

        49.     Against this statutory backdrop, courts will evaluate the facts and circumstances

of a debtor’s case and will accord significant weight to the debtor’s business judgment regarding

the necessity for obtaining the financing. See, e.g., Bray v. Shenandoah Fed., Sav. & Loan Ass’n

(In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986); Ames, 115 B.R. at 40. For example,

the need for a swift injection of cash to preserve a debtor’s business satisfies the requirements of

section 364(d) of the Bankruptcy Code, when coupled with unsuccessful attempts to locate

alternative financing. See Ames, 115 B.R. at 40; Snowshoe, 789 F.2d at 1088 (primary facts

supporting priming included lack of alternative financing sources and need to obtain prompt cash

infusion to preserve value of debtors’ business).

        50.     The Debtors do not believe that they would be able to obtain the funds required in

the form of unsecured debt allowable under section 503(b)(1) of the Bankruptcy Code, an

administrative expense pursuant to sections 364(a) or (b) of the Bankruptcy Code, unsecured

debt having the priority afforded by section 364(c)(1) of the Bankruptcy Code or debt secured

only as described in sections 364(c)(2) or (3) of the Bankruptcy Code, because the Prepetition

Liens of the Prepetition Lenders encumber all of the Debtors’ assets. Additionally, the Debtors

do not believe that they would be able to obtain an alternative borrowing facility proposed by

another lender on any terms given the Debtors’ significant financial difficulties.



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        51.     In light of the circumstances, the Debtors concluded, in the exercise of their sound

business judgment, that the proposals for debtor in possession financing provided by the DIP

Lenders were the most favorable under the circumstances and addressed the Debtors’ reasonably

foreseeable working capital needs.

        52.     The Debtors’ efforts to seek necessary postpetition financing from other

sophisticated lending institutions satisfy the statutory requirements of section 364(c). See, e.g.,

In re Phoenix Steel Corp., 39 B.R. 218, 222 and n.9 (D. Del. 1984) (requiring demonstration that

less onerous financing was unavailable); In re Reading Tube Indus., 72 B.R. 329, 332 (Bankr

E.D. Pa. 1987) (same); Ames, 115 B.R. at 40 (approving section 364(c) financing facility and

holding that the debtor made reasonable efforts to obtain less onerous terms where it approached

four lending institutions, was rejected by two, and selected the least onerous financing option

from the remaining two lenders); In re 495 Cent. Park Ave. Corp., 136 B.R. 626, 630 (Bankr.

S.D.N.Y. 1992) (debtor “must make an effort to obtain credit without priming a senior lien”).

        53.     The Debtors’ decision to enter into the DIP Facilities quite clearly represents an

exercise of sound business judgment. Without the financing, the Debtors simply cannot conduct

their operations. Without such funds, the Debtors will not be able to pay their payroll and other

direct operating expenses and obtain goods and services needed to carry on their business during

this critical period. Equally important, without financing to cover the Debtors’ cash needs, the

Debtors will be unable to timely satisfy their administrative obligations. The DIP Facilities

addresses this need by providing the Debtors with funds necessary to meet ongoing operating

needs, and by instilling the Debtors’ customers and employees with a sense of the Debtors’

financial security.




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        54.     Further, the Debtors have negotiated the best financing arrangement that it can

realistically expect to obtain under the circumstances. The fees required by the DIP Lenders are

customary and reasonable for the level of risk associated with such loans. Indeed, courts

routinely authorize similar lender incentives beyond the explicit liens and rights specified in

section 364 of the Bankruptcy Code. See In re Defender Drug Stores, Inc., 145 B.R. 312, 316

(9th Cir. BAP 1992). The costs of failing to approve the DIP Facility (e.g., loss of jobs and the

inability to reorganize) would be catastrophic to creditors and parties in interest. See, e.g., In re

Western Pacific Airlines, Inc., 223 B.R. 567, 570-71 (Bankr. D. Colo. 1997).

        55.     Based upon the foregoing, the Debtors respectfully request that the Court approve

the DIP Facilities in accordance with the terms set forth in the DIP Credit Agreements and the

Interim Orders.

C.      The DIP Facilities Are Vital to the Debtors’ Ability
        to Consummate a Successful Reorganization

        56.     The continued operation of the Debtors’ business should provide the Debtors with

an opportunity to maximize the value of their estate for the benefit of their creditor

constituencies and allow the consummation of the plan that they filed contemporaneously

herewith (the “Plan”) to occur.

        57.     The Debtors have focused their business strategy to preserve capital and reduce

costs, and at the same time have undertaken a process to reorganize through the terms of the

Plan. An immediate need exists for the Debtors to obtain funds with which to pay current

operating expenses, and to administer and preserve the value of its estate. Absent immediate

access to funds, the Debtors will likely have to shut down and discharge their employees.

        58.     It is well established that a bankruptcy court, where possible, should resolve

issues in favor of preserving the opportunity of a debtor to successfully reorganize:


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        A debtor, attempting to reorganize a business under Chapter 11 clearly has a
        compelling need to use “cash collateral” in its effort to rebuild, without the
        availability of cash to meet daily operating expenses, such as rent, payroll,
        utilities, etc., the congressional policy favoring rehabilitation over economic
        failure would be frustrated.

See generally Chrysler Credit Com. v. Ruggiere, 727 F.2d. 1017, 1019 (11th Cir. 1984).

D.      Rollup

        59.      As noted above, no potential lender was willing to extend credit to the Debtors on

a junior priority basis (all of the Debtors’ assets are encumbered by the liens and security

interests securing the Debtors’ obligations under the secured Prepetition Financing Agreement).

Thus, absent payment in full of the obligations owed to the Prepetition Lenders, the Debtors

would be required to attempt to “prime” the Prepetition Lenders. The Prepetition Lenders would

not consent to being primed without repayment in full of their obligations, which means that if

the Debtors were able to locate a debtor in possession lender willing to provide a priming lien,

the Debtors would be required to engage in a contested financing hearing, the outcome of which

most certainly would be unfavorable.

        60.      Furthermore, the Prepetition Lenders have a prepetition security interest in

substantially all of the Debtors’ property including its inventory –which is used and consumed in

the Debtors’ business every day. At a minimum, the Debtors would be required to give the

Prepetition Lenders a replacement lien in all of its postpetition inventory and/or pay the proceeds

to the Prepetition Lenders as a result of the sale thereof. The DIP Credit Facilities basically

provide the second of these two options by refinancing the Prepetition Financing Agreement

with the DIP Credit Facilities and repaying in full the Prepetition Lenders with a portion of the

proceeds from the DIP Credit Facilities and receiving replacement liens (on the same collateral

that secured the pre-petition facilities).



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         61.      Lastly, repayment of the debt owed to the Prepetition Lenders will not prejudice

other creditors because the Interim Orders provide that the approval of the DIP Credit Facilities

are without prejudice to the right of any official committee (and, absent any Committee, a party

in interest) appointed in these cases to contest or challenge the validity of the Prepetition

Lenders’ liens.

         62.      The Debtors assert that under the consensual arrangement embodied in the DIP

Revolving Credit Agreement, the repayment of the obligations under the Prepetition Financing

Agreement are appropriate. Indeed, numerous courts have approved debtor in possession

financing facilities that contemplated repayment of pre-petition indebtedness owed under secured

pre-petition credit facilities. See, e.g., In re Ames Dep’t Stores, Inc., 115 B.R. 34, 39-41 (Bankr.

S.D.N.Y. 1990) (financing approved, including cross-collateralization provisions, where it

appeared that the purpose of the loan was to benefit estate rather than party in interest); In re

Simasko Prod. Co., 47 B.R. 444, 449 (Bankr. D. Cola. 1985) (court would not second-guess

debtor’s business judgment, based on distinct awareness of its financial needs, to put aside cash

to effectuate a refinancing of its debts); In re Musicland Holding Corp., Case No. 06-10064

(SMB) (Bankr. S.D.N.Y. Feb. 21, 2006); In re Winn-Dixie Stores, Inc., Case No. 05-11063

(RDD) (Bankr. S.D.N.Y. Mar. 23, 2005) (permitting payment in full of pre-petition lenders); In

re Donnkenny Apparel, Inc., No. 05-1 0712 (RDD) (Bankr. S.D.N.Y. Feb. 9, 2005) (approving

roll up of pre-petition debt); In re Twinlab Corp., Case No. 03-15564 (CB) (Bankr. S.D.N.Y.

Sept. 25, 2003) (Docket No. 80) (authorizing Debtors to repay existing pre-petition bank debt);

In re Radnor Holdings Corporation, Case No. 06-10894 (PJW) (Bankr. D. Del. September 22,

2006); In re Ultimate Electronics, Inc., Case No. 05-10104 (PJW) (Bankr. D. Del. Feb. 14,

2005).



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        63.     The Debtors were advised that the Prepetition Lenders would not agree to provide

the DIP Facilities absent the rollup of the Prepetition Financing and the new loans to be provided

under the Term DIP Facility. The Debtors believe, in their reasonable business judgment, that the

benefits of the DIP Facilities outweigh losing the ability to satisfy the Prepetition Financing

otherwise in accordance with the Bankruptcy Code and the burdens on the estates of incurring an

administrative claim. The nature of most of the Collateral (inventory and accounts receivable)

makes it difficult to segregate the pre- and post-petition collateral. In the absence of the rollup

contemplated in the DIP Facilities, the Debtors would have faced a difficult priming fight against

secured creditors with security interests in substantially all of the Debtors’ estates. The Debtors

believe that even if they were successful in a non-consensual priming of the Prepetition Lenders,

any such victory might well be a Pyrrhic victory, in light of the Debtors’ fragile liquidity

situation.    Moreover, since the DIP Lenders have agreed (subject to certain conditions) to

continue funding subsequent to confirmation of the Plan, the effect on the estate and the plan

process has been significantly reduced.

        64.     Quite simply, the Debtors were unable to obtain financing on more favorable

terms from sources other than the DIP Lenders. The Debtors have an immediate need to obtain

fmancing in order to ensure, inter alia, that the Debtors have sufficient working capital and

liquidity and can preserve and maintain the going concern value of the Debtors’ estates during

the Plan process. Accordingly, the Debtors believe that the aforementioned circumstances

demonstrate that such extraordinary relief is necessary and appropriate and should be authorized

and approved by the Court.

E.      Good Faith

        65.     The terms and conditions of the DIP Facilities are fair and reasonable and were

negotiated in good faith and at arm’s length between the Debtors and the DIP Lenders.

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Accordingly, the DIP Lenders should be accorded the benefits and protections of section 364(e)

of the Bankruptcy Code with respect to the DIP Facilities. Accordingly, based on the foregoing,

the Debtors respectfully request that the Court order that any loans, advances or other financial

accommodations which are made or caused to be made to the Debtors by the DIP Lenders

pursuant to the DIP Facilities are deemed to have been made and provided in good faith, as the

term “good faith” is used in Bankruptcy Code section 364(e), and shall be entitled to the full

protection of Bankruptcy Code section 364(e) in the event that the Interim Orders or the DIP

Facilities or any provisions are hereafter modified, vacated, amended, or stayed by subsequent

order of this Court or any other court without the consent of the DIP Lenders.

F.      Modification of the Automatic Stay

        66.     Section 362 of the Bankruptcy Code provides for an automatic stay upon the

filing of a bankruptcy petition. The proposed DIP Facilities contemplate a modification of the

automatic stay, to the extent applicable and to the extent necessary, to permit the DIP Lenders to

perform any act authorized or permitted under or by virtue of the Interim Orders or the DIP

Credit Agreements.

        67.     Stay modification provisions of this kind are ordinary and standard features of

postpetition debtor in possession financing facilities and, in the Debtors’ business judgment, are

reasonable under the circumstances. Therefore, the Debtors respectfully request that the Court

authorize modification of the automatic stay in accordance with the terms set forth in the Interim

Orders and the DIP Credit Agreements.

                      Statement Pursuant to Local Bankruptcy Rule 9013-2

        68.     Pursuant to Local Bankruptcy Rule 9013-2, the Debtors assert that no brief in

support of the Motion is necessary because there are no novel issues of law presented in this

Motion.

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                                                Notice

         69.    The Debtors further request that the Court schedule the Final Hearing and

authorize them to mail copies of the signed Interim Orders (assuming they are approved), to

(a) the Office of the United States Trustee; (b) counsel to The CIT Group/Business Credit, Inc.,

Stradley Ronon Stevens & Young, LLP, 2600 One Commerce Square, Philadelphia,

Pennsylvania 19103, Attn: Paul A. Patterson, Esq.; (c) counsel to Arcus ASI Funding, LLC,

Blank Rome LLP, One Logan Square, Philadelphia, Pennsylvania 19103, Attn: Joel C. Shapiro,

Esq.; (d) the Debtors’ twenty (20) largest unsecured creditors on a consolidated basis; (e) the

Internal Revenue Service; (f) the Securities and Exchange Commission; and (g) any other known

lienholders. In addition, because this Motion seeks “first day” relief, notice of this Motion and

any order entered respecting this Motion will be served as required by Local Bankruptcy

Rule 9013-1(m). The Debtors submit that, in light of the nature of the relief requested, no other

or further notice is necessary or required.

                                          No Prior Request

         70.    No prior request for the relief sought herein has been made to this or any other

Court.

                                              Conclusion

                WHEREFORE, the Debtors respectfully request that this Court enter the Interim

Orders and, after notice and a hearing, enter final orders (substantially in the form of the Interim

Orders) (i) authorizing the Debtors to obtain interim and final secured postpetition financing

pursuant to the DIP Facilities, the DIP Credit Agreements and the Interim Orders; (ii) granting

the DIP Lender Liens and security interests and providing superpriority administrative expense

status, to the extent requested herein, and subject to relative priorities set forth in the

Intercreditor Agreement executed by the DIP Lenders; (iii) authorizing the Debtors’ use of cash

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collateral; (iv) modifying the automatic stay, to the extent requested herein; (v) scheduling a

Final Hearing on the Motion and prescribing the form and manner of notice thereto; and

(vi) granting such other relief as the Court determines to be just and proper.

Date:    March 16, 2008

                                                   /s/ Jerrold N. Poslusny, Jr.
                                                   Mark E. Felger (MF9985)
                                                   Jerrold N. Poslusny, Jr. (JP7140)
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                                                   Proposed Attorneys for the Debtors and
                                                   Debtors in Possession




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